Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 1 of 6 PageID: 135




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Attorneys for Defendants
                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
                                             :
 EXPRESS FREIGHT SYSTEMS INC., :                   Case: 2:19-cv-12001-SDW-LDW
                                             :
                                 Plaintiff, :
                                     :
                 - against -
                                     :
                                     :
 YMB ENTERPRISES INC., JOEL          :
 MENDLOVIC, JOHN DOES 1-10 and :
 ABC CORPS. 1-10 (said names being   :
 fictitious),                        :
                                     :
                         Defendants. :

             REPLY IN SUPPORT OF DEFENDANTS’ MOTION

      Plaintiff, EXPRESS FREIGHT SYSTEMS INC. (“Plaintiff”) filed an

opposition to Defendants YMB Enterprises Inc. (“YMB”) and Joel Mendlovic

(“Joel”), (collectively “Defendants”) motion to dismiss the complaint for the

absence of jurisdiction, and pursuant to FRCP 12(b)(5) for the failure to serve and

in the alternative relief pursuant to FRCP to 12(b)(3) to transfer this case to the

venue where Defendants are domiciled either in the United States District Court

for the Eastern District of New York or to the Supreme Court of New York for

King (Brooklyn) County. This is Defendants reply.



                                        Page 1
Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 2 of 6 PageID: 136




        I.     PLAINTIFF CONFIRMS THAT THE COURT LACKS
               THE   AMOUNT     IN  CONTROVERSY    FOR
               DIVERSITY JURISDICTION
      To follow the factual allegations provided by Plaintiff in its opposition,

Plaintiff provides approximately eight “dispatch” confirmations, that were issued

to YMB, and each dispatch is an order with a rate of $1,100. (ECF 16 at Exhibit

B). Basic metaethics, of which the Court can take judicial notice, results $8,800

(1,100 x 8).

      Now taking a step further, the complaint alleges that Plaintiff contracted

YMB on July 26, 2018 and by the end of July 2018 the contract was breached, and

Plaintiff allegedly lost the account of Furmano Foods (“Furmano”). (ECF 1 ¶¶ 5,

9). Ironically, the aforementioned eight dispatch notices are dated from July 26,

2018 throughout mid-October 2018, a stretch of about 3 months. None of the

Plaintiff’s exhibits calculate to losing $15,000/month worth of business to invoke

diversity jurisdiction of the $75,000 threshold.

      Also absent from Plaintiff’s opposition is any articulable basis that Furmano

allegedly stopped doing business with Plaintiff altogether to have resulted in the

injury of $15,000/month. For the sake of assuming Plaintiff’s argument in light of

most favorable, the fact that Furmano accounts only yielded eight transaction of

$1,100 of three months makes the $15,000/month allegation too remote and

speculative. This speculation is best summarized in Plaintiff’s own words,



                                       Page 2
Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 3 of 6 PageID: 137




“Plaintiff was expected to earn approximately $15,000.00 each month from

Furrnano for years to come had Defendants not interfered with Plaintiff s

relationship with Furrnano.” (ECF 18 p. 2)

       Article III jurisdiction requires a concrete injury, not speculative on some

estimate of projected damages. On Diversity jurisdiction, “the court may still insist

that the jurisdictional facts be established or the case be dismissed ... the court may

demand that the party alleging jurisdiction justify his allegations by a

preponderance of evidence.” McCann v. Newman Irrevocable Tr., 458 F.3d 281,

289 (3d Cir. 2006). The allegation that Plaintiff might have lost $15,000 per

month for years to come cannot be established by a preponderance of the evidence.


        II.   PLAINTIFF CONFIRMS THAT DEFENDANTS
              HAVE NO MINIMUM CONTACT WITH NEW
              JERSEY. THUS, DIVERSITY ON CAUSES OF
              ACTION UNDER NEW JERSEY LEGAL THEORIES
              ARE INAPPROPRIATE. IF DIVERSITY CAN
              SOMEHOW EXIST, THE CASE BELONGS IN THE
              EASTERN DISTRICT OF NEW YORK, NOT NEW
              JERSEY.
      Plaintiff’s entire nexus for diversity jurisdiction is hooked on Defendants

“travels” through New Jersey and that Defendants website offers to do deliveries in

the “tri-state area.” No case law has ever held that a claim under the theory of a

foreign State breach of contract claim or fraud is appropriate by the mere virtue of

a defendant traveling through that state.



                                        Page 3
Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 4 of 6 PageID: 138




      Diversity “Citizenship is synonymous with domicile, and the domicile of an

individual is his true, fixed and permanent home and place of habitation. It is the

place to which, whenever he is absent, he has the intention of returning.” McCann

v. Newman Irrevocable Tr., 458 F.3d 281, 286 (3d Cir. 2006). “In determining an

individual's domicile, a court considers several factors, including ‘declarations,

exercise of political rights, payment of personal taxes, house of residence, and

place of business.” Id. “Other factors to be considered may include location of

brokerage and bank accounts, location of spouse and family, membership in unions

and other organizations, and driver's license and vehicle registration.” Id.

      Plaintiff’s allegations confirm to have met Defendants through a website

“power.dot.com” for carriers “seeking carriers interested in transporting loads of

goods from Plaintiffs customer, Furmano Foods, whose facility is located in

Northumberland, Pennsylvania, to a final destination in Brooklyn, New York.”

(ECF 16 ¶ 5). In plain words, the parties only bargained for business in

Pennsylvania heading to Brooklyn. There is none of the McCann factors to tie

Defendants in New Jersey.




                                       Page 4
Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 5 of 6 PageID: 139




         III.   DEFENDANTS WERE NEVER SERVED AND
                SUPPLEMENTAL AFFIDAVITS CANNOT CURE
                THE   STATUTORY    AND   PROCEDURAL
                REQUIREMENTS.
         Plaintiff attempts to fix its defective service by attaching new and “amended

return of service.” (ECF 17 ps 12-18). Besides these decelerations have no date as

to when they were declared as true, they do not cure the requirements of under

N.Y. C.P.L.R. 308(b), which requires filing a proof of service within 20 days of

substitute service. This requirement serves to tell the defendant as to when their

time to answer starts; otherwise, a defendant would not know when the date of

substitute service commenced. Thus, dismissal is appropriate for the failure to

serve.

         Next Plaintiff attaches an email, of Defendants’ counsel who was hired just

for the limited purpose of negotiating settlement before litigating, which states “it

is our understanding that the Defendants were served with process on May 9,

2019-as such, the deadline for a responsive pleading under Fed. R. Civ. P. 12 is

currently May 30, 2019.” (ECF 17 p. 20). A plain review of FRCP 12(b) includes

defenses of insufficient service. Nowhere in that email, did the settlement

conference mention whether the defenses for services are waived. It is clear from

FRCP 12 that a defendant is able to raise a defense for service unless waived.

Here, the Defendants did not waive any defenses but made a good faith effort

“with the intent that the parties may be able to reach a resolution in the interim


                                         Page 5
Case 2:19-cv-12001-SDW-LDW Document 21 Filed 09/05/19 Page 6 of 6 PageID: 140




which would avoid any unnecessary costs.” (ECF 17 p. 20). With no settlement at

hand, the Plaintiff must now face the defenses Defendants present. The Court

should therefore put Plaintiff out of its misery and simply dismiss the action in its

entirety.


                                    CONCLUSION
      WHEREFORE Defendants request that the Court enter an order granting

the motion to dismiss to dismiss the complaint, and granting to Defendants such

other and further relief including in the alternative transferring this case to the

Federal Court in Brooklyn, NY, which is the United States District Court for the

Eastern District of New York or to the Supreme Court of New York for Brooklyn.

Dated: Valley Stream, New York
       September 5, 2019

                                             Respectfully submitted,
                                               Law Offices of Lawrence Katz,
                                                      Lawrence Katz
                                               /s/
                                               By:    Lawrence Katz, Esq.,




                                        Page 6
